Case 6:23-cv-00609-JDK Document 11-4 Filed 02/06/24 Page 1 of 4 PageID #: 190




                          Exhibit C
             Case
12/19/23, 10:46 AM 6:23-cv-00609-JDK               Document       11-4
                                                    About Us - Global     Filed Center
                                                                      Engagement 02/06/24       PageDepartment
                                                                                       - United States 2 of 4 PageID
                                                                                                               of State #: 191
          An official website of the United States Government Here's how you know

       Live Now: Department Press Briefing




  About Us                                                                                                                       




    Home > ... > About Us – Global Engagement Center




        About Us – Global Engagement Center
        GLOBAL ENGAGEMENT CENTER




    Mission: To direct, lead, synchronize, integrate, and coordinate U.S. Federal Government efforts
    to recognize, understand, expose, and counter foreign state and non-state propaganda and
    disinformation efforts aimed at undermining or influencing the policies, security, or stability of
    the United States, its allies, and partner nations.

    Vision: To be a data-driven body leading U.S. interagency efforts in proactively addressing foreign
    adversaries’ attempts to undermine U.S. interests using disinformation and propaganda.

    The GEC carries out its mission along five lines of effort:

    1. Analytics and Research: GEC’s analysts and data scientists collect and analyze data from
       foreign state and foreign non-state actors to produce analysis on their foreign malign
       information influence narratives, tactics, and techniques. GEC shares these analyses with
       stakeholders within the Department, and among S. embassies, the interagency, and our
       international partners.
    2. International Partnerships: GEC has built and participates in multiple international coalitions
       and partnerships with other national governments for the purpose of coordinating counter-

                                                                      15
https://www.state.gov/about-us-global-engagement-center-2/                                                                           1/3
             Case
12/19/23, 10:46 AM 6:23-cv-00609-JDK               Document       11-4
                                                    About Us - Global     Filed Center
                                                                      Engagement 02/06/24       PageDepartment
                                                                                       - United States 3 of 4 PageID
                                                                                                               of State #: 192
       disinformation analyses and actions, and collectively buttressing the integrity of the global
       information environment.
    3. Programs and Campaigns: GEC’s Russia, People’s Republic of China, Iran, and
       Counterterrorism teams each designed to build societal and institutional resilience to foreign
       propaganda and disinformation efforts abroad. GEC tailors its initiatives to the specific
       challenges in unique overseas information environments and coordinates both internally
       within the Department, and with interagency and international partners.
    4. Exposure: GEC plays a coordination role in the interagency’s public exposure of foreign
       information influence operations, including the use of proxy sites and social media networks
       overseas.
    5. Technology Assessment and Engagement: GEC hosts private sector technology
       demonstrations, assesses counter-disinformation technologies against specific challenges, and
       identifies technological solutions through technology challenge programs.

    Establishment of the Global Engagement Center: GEC’s founding traces back to 2011 and
    Executive Order 13584, which established within the Department of State the Center for Strategic
    Counterterrorism Communications (CSCC) for the purpose of “supporting agencies in
    Government-wide public communications activities targeted against violent extremism and
    terrorist organizations.”[1] Executive Order 13721 in 2016 transformed the CSCC into the Global
    Engagement Center but left its counterterrorism mission largely unchanged.

    GEC’s mission expanded upon enactment of the National Defense Authorization Act for Fiscal Year
    2017 to include the authority to address other foreign state and non-state propaganda and
    disinformation activities. The John S. McCain National Defense Authorization Act for Fiscal Year 2019
    further refined this mission, and endowed it with a mandate, as reflected in GEC’s mission
    statement.[2]


    [1] John S. McCain National Defense Authorization Act for Fiscal Year 2019, Section 1284,
    Modifications to Global Engagement Center, P.L. 115-232,
    https://www.congress.gov/bill/115th-congress/house-bill/5515/text

    [2] The White House Office of the Press Secretary, Executive Order 13584-Developing an
    Integrated Strategic Counterterrorism Communications Initiative, September 9, 2011,
                                                                      16
https://www.state.gov/about-us-global-engagement-center-2/                                                                       2/3
             Case
12/19/23, 10:46 AM 6:23-cv-00609-JDK                 Document       11-4
                                                      About Us - Global     Filed Center
                                                                        Engagement 02/06/24       PageDepartment
                                                                                         - United States 4 of 4 PageID
                                                                                                                 of State #: 193
    https://obamawhitehouse.archives.gov/the-press-office/2011/09/09/executive-order-
    13584-developing-integrated-strategic-counterterrorism-c


    TAGS


       Data         Disinformation




                                                                 White House
                                                                    USA.gov
                                                       Office of the Inspector General
                                                                    Archives
                                                                  Contact Us




                                                                                      



                                                                 Privacy Policy
                                                             Accessibility Statement
                                                             Copyright Information
                                                                      FOIA
                                                                  No FEAR Act



                                                                        17
https://www.state.gov/about-us-global-engagement-center-2/                                                                         3/3
